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                            EXHIBIT A
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  KRANJAC TRIPODI & PARTNERS LLP
  Xavier M. Bailliard
  James Van Splinter
  30 Wall Street, 12th Floor
  New York, New York 10005
  Tel: (646) 216-2400
  Fax: (646) 216-2373
  xbailliard@ktpllp.com
  jvansplinter@ktpllp.com

  Attorneys for Plaintiffs

                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

   BRIAN MANETTA, SERGIO PEREIRA,
                                                  CIVIL ACTION
   ESTHER SYGAL-PEREIRA, MATTHEW
   MARKOSIAN, NAIMISH BAXI, HARVEY
                                                  No. 2:20-cv-07712-SDW-LDW
   MINANO, SYDNEY PECK, MAHMUD
   IBRAHIM, and GEORGE AMORES,
   individually and on behalf of all others
   similarly situated,
                                                     PLAINTIFFS’ FIRST SET OF
                                                    REQUESTS FOR DOCUMENTS
                             Plaintiffs,

   v.

   NAVIENT CORPORATION, NAVIENT
   SOLUTIONS, LLC f/k/a NAVIENT
   SOLUTIONS, INC. f/k/a SALLIE MAE,
   INC., and SLM CORPORATION,

                             Defendants.

  TO:    GREENBERG TRAURIG, LLP
         Rebecca G. Zisek
         500 Campus Drive, Suite 400
         Florham Park, New Jersey 07932

         PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 34, Plaintiffs

  BRIAN MANETTA, SERGIO PEREIRA, ESTHER SYGAL-PEREIRA, MATTHEW

  MARKOSIAN, NAIMISH BAXI, HARVEY MINANO, SYDNEY PECK, MAHMUD

  IBRAHIM, and GEORGE AMORES (collectively, “Plaintiffs”), through their counsel, Kranjac


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  Tripodi & Partners LLP, hereby request that Defendants NAVIENT CORPORATION and

  NAVIENT SOLUTIONS, LLC f/k/a NAVIENT SOLUTIONS, INC. f/k/a SALLIE MAE, INC.

  (collectively, “Defendants”) produce the following documents and information, in accordance

  with the definitions and instructions set forth below, within thirty (30) days from service of this

  notice.

            PLEASE TAKE FURTHER NOTICE that these Requests are deemed continuing so as

  to require supplemental responses and documents if Defendants obtain further or supplemental

  information or documents between the time that their responses are served and the time of the first

  notice of trial.

  Dated: October 25, 2021                      KRANJAC TRIPODI & PARTNERS LLP


                                               By: s/Xavier M. Bailliard
                                                   Xavier M. Bailliard
                                                   30 Wall Street, 12th Floor
                                                   New York, NY 10005
                                                   Tel: (646) 216-2400
                                                   Fax: (646) 216-2373
                                                   xbailliard@ktpllp.com

                                               Attorneys for Plaintiffs




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                               DEFINITIONS AND INSTRUCTIONS

          1.        “Documents” means all writings of any kind, including the originals and all
  nonidentical copies, whether different from the originals by reason of any notation made on such
  copies or otherwise, including without limitation correspondence, memoranda, electronic mail
  messages (“e-mail”), text messages, notes, diaries, statistics, letters, telegrams, minutes, contracts,
  reports, studies, checks, statements, receipts, returns, summaries, pamphlets, books, prospectuses,
  annual reports, trade papers, journals, applications, certificates, drawings, plans, interoffice and
  intra-office communications or offers, notations in any form made of conversations, telephone
  calls, meetings or other communications, bulletins, printed matter (including, without limitation,
  newspapers, magazines, press releases and other publications, and articles and clippings
  therefrom), press releases, computer printouts, computer software and programs, teletypes,
  telecopies, invoices, ledgers, worksheets, all drafts, alterations, modifications, changes and
  amendments of any of the foregoing, graphic or aural records or representations of any kind
  (including, without limitation, photographs, charts, graphs, and microfiche, microfilm, videotape,
  or film recordings) and electronic, mechanical or electrical records or representations of any kind
  (including, without limitation, tapes, cassettes, discs, recordings), or transcripts thereof, including
  metadata.

                  The term Documents shall include all electronically stored information (“ESI”)
  which includes, but is not limited to, originals and all copies of e-mail; activity listings of e-mail
  receipts and/or transmittals; voice-mail; audio or video recordings of any kind; computer programs
  (whether private, commercial, or a work-in progress); programming notes or instructions; output
  resulting from the use of any software program, including word processing documents,
  spreadsheets, database files, charts, graphs, and outlines; operating systems; source code of all
  types; image files including JPG or JPEG, TIFF, PICT, and BMP; PDF files, batch files in any
  format, including ASCII, XML or CSV format; and all miscellaneous electronic files and/or file
  fragments, regardless of the media on which they are stored and regardless of whether the data
  resides in an active file, deleted file, or file fragments. ESI includes any and all information stored
  in or on hard disks, floppy disks, CD and DVD disks, external hard drives or their equivalent,
  portable storage devices including USB or FireWire drives; magnetic tapes of all kinds, and
  computer chips (including EPROM, PROM and ROM). ESI also includes the file, folder tabs,
  containers or labels appended to any storage device containing electronic data.

           2.     “Any Documents,” “all Documents,” or “each Document” means every document,
  as defined in paragraph 1 above, that can be located, discovered or obtained by reasonably diligent
  efforts, including without limitation all Documents possessed by: (a) you or your counsel; (b) any
  other person or entity from whom you can obtain such documents by request or that you have a
  legal right to bring within your possession by demand.

         3.      “Communications” is used here in the broad sense and includes, but is not limited
  to, any and all conversations, meetings, discussions and other occasions for verbal exchange,
  whether in person or by telephone, as well as all letters, memoranda, telegrams, cables and other
  writings or documents.




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        4.   “Identify,” “identification,” and “identity” as used herein mean:

             (a)    With respect to a document:
                    (i)    the type of document, whether a letter, memorandum, report,
                           agreement, recording, notation, etc.;
                    (ii)   any caption, heading and/or date shown on the face of the document;
                           and
                    (iii) if applicable, by whom and to whom it is written and any person to
                           whom it was distributed;

             (b)    With respect to a natural person, the person’s:
                    (i)    full name;
                    (ii)   occupation and employer, if any;
                    (iii) business and home address;
                    (iv)   business and home telephone numbers;
                    (v)    present or last known position, job description, and the identity of
                           his or her business affiliation;
                    (vi)   if different from (v), his or her position, job description, and the
                           identity of his or her business affiliation at the time and in the
                           context in which he or she is identified; and
                    (vii) the relationship, business or otherwise, between such person and
                           the person answering these Requests.

             (c)    With respect to an entity:
                    (i)    its full name;
                    (ii)   the jurisdiction under whose laws it was organized;
                    (iii) its principal office address and telephone number;
                    (iv)   its principal officer or member known to you;
                    (v)    a description of the type of organization or entity; and
                    (vi)   the date of its incorporation or organization.


             (d)    With respect to an oral communication:
                    (i)    the date and time when it occurred;
                    (ii)   the place where it occurred;
                    (iii) the complete substance of the communication;
                    (iv)   the identity of each person;
                              a. to whom such communication was made;
                              b. by whom such communication was made;
                              c. who was present when such communication was made;
                    (v)    if by telephone:
                              a. the identity of each person:
                                    i. who made each telephone call; and
                                    ii. who participated in each call;
                              b. The place where each person identified was located.




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                         (vi)    the identity of all documents memorializing, referring, or relating
                                 to, in any way, the communication or its subject matter.

           5.    “Person” means any natural person in any capacity whatsoever, or any public or
  private corporation, partnership, limited liability company, joint venture, voluntary unincorporated
  association, organization, proprietorship, trust, state or federal government agency, commission,
  bureau, department, or any other business association and/or legal entity, including any member,
  officer, employee, agent, representative, attorney, successor, predecessor, assign, division, affiliate
  and subsidiary.

          6.      Each request for production calls for the production of the original document and
  all copies and preliminary drafts of Documents which, as to content, differ in any respect from the
  original or final draft or from each other (e.g., by reason of handwritten notes or comments having
  been added to one copy of a document but not on the original or other copies).

         7.    If any request for Documents is deemed to call for the production of privileged or
  work product materials and such privilege or work product is asserted, provide the following
  information:

                 (a)     The reason for withholding the document;

                 (b)     A statement of the basis for the claim of privilege, work product or other
                         ground of nondisclosure;

                 (c)     A brief description of the document, including:

                         (i)     the date of the document;
                         (ii)    the number of pages, attachments, and appendices;
                         (iii)   the names of its author, authors or preparers and
                                 identification by employment and title of each such
                                 person;
                         (iv)    the name of each person who was sent, shown or blind
                                 or carbon copied the document, or has had access to or
                                 custody of the document, together with an
                                 identification of each such person;
                         (v)     the present custodian; and
                         (vi)    the subject matter of the document, and in the case of any document
                                 relating or referring to a meeting or conversation, identification of such
                                 meeting or conversation.

         8.      If any document requested herein was at one time in existence, but has been lost,
  discarded or destroyed, identify each such document and provide the following information:

                 (a)     the date or approximate date it was lost, discarded or destroyed;

                 (b)     the circumstances and manner in which it was lost, discarded or destroyed;



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                  (c)     the reason or reasons for disposing of the document (if discarded or
                          destroyed);

                  (d)     the identity of all persons authorizing or having knowledge of the
                          circumstances surrounding the disposal of the document;

                  (e)     the identity of the person(s) who lost, discarded or destroyed the document;
                          and

                  (f)     the identity of all persons having knowledge of the contents thereof.

          9.      “Reflect,” “Refer” or “Relate to” (including any variant thereof), includes referring
  to, alluding to, responding to, concerning, connected with, commenting on or in respect of,
  analyzing, touching upon, comprising, consulting, containing, dealing with, discussing,
  evidencing, pertaining to, preparing for, relating to, mentioning and showing, adducing, bringing
  up, calling attention to, citing, directing attention to, invoking, giving as an example, hinting at,
  indicating, making mention of, making note of, mentioning, naming, pointing out, quoting,
  speaking, specifying, constituting and being, and is not limited to contemporaneous events,
  actions, communications or documents, and/or having any and all factual or logical connection
  with the matter discussed in these requests.

          10.     “And” and “or” shall be construed either disjunctively or conjunctively, as
  necessary to bring within the scope of the request all responses which might otherwise be construed
  to be outside its scope.

         11.     “Including, without limitation” (including any variant thereof) means including,
  without in any way qualifying, limiting or restricting the foregoing.

          12.     The use of the singular shall include the plural and the use of the plural shall include
  the singular.

         13.     “Action” means the lawsuit pending in the United States District Court, District of
  New Jersey, Civil Action No. 2:20-cv-07712-SDW-LDW, and any claims, allegations, and/or
  defenses asserted by any present or future party.

            14.   “Complaint” means the Complaint filed by Plaintiffs against Defendants in this
  Action.

        15.    “Plaintiffs” means Brian Manetta, Sergio Pereira, Esther Sygal-Pereira, Matthew
  Markosian, Naimish Baxi, Harvey Minano, Sydney Peck, Mahmud Ibrahim, and/or George
  Amores.

         16.     “Navient Corp.” means Navient Corporation, its affiliates, subsidiaries,
  predecessors, servants, representatives, officers, directors, employees, and/or agents.




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         17.     “Navient Solutions” means Navient Solutions, LLC, its affiliates, subsidiaries,
  predecessors, servants, representatives, officers, directors, employees, and/or agents.

         18.      “Defendants” means Navient Corp. and/or Navient Solutions.

         19.      “Plaintiffs’ Loans” shall mean any and all loans of Plaintiffs that are or have been
  held and/or serviced by Defendants and all previously consolidated loans by Defendants’
  predecessors that were used to generate the initial principal balances of all such loans associated
  with Plaintiffs that are or have been held and/or serviced by Defendants.

          20.     “You” or “your” means Defendants Navient Corporation and Navient
  Solutions, Inc., formerly known as Sallie Mae, Inc. (also known as Navient Solutions, LLC), as
  well as all independent contractors, attorneys, accountants, parents, subsidiaries, affiliated
  companies, predecessors, successors and/or assigns, partners, officers, directors, employees,
  agents, representatives, insurance carriers, and other persons acting (or who acted) or purporting
  to act (or who purported to act) on that person’s or entity’s or your behalf.

           21.     “Defendants’ Board” shall include the executive Board(s) of Directors, and all
  respective corporate governance committees and/or boards of Navient Corporation, Navient
  Solutions, Inc. formerly known as Sallie Mae, Inc. (also known as Navient Solutions, LLC) and
  its officers, directors, parent, subsidiaries, affiliated companies, predecessors, successors and/or
  assigns.

          22.     The use of the singular shall include the plural and the use of the plural shall include
  the singular.

         23.     The timeframe for responses relates to the period of January 1, 2000 through the
  present, unless otherwise specified or as further defined herein.

         24.    “Oral communication” means any verbal conversation or other statement from one
  person to another, including but not limited to any interview conference, meeting, or telephone
  conversation.

         25.     “Online Portal” means Defendants’ public website(s) and Internet presence,
  Customer Service Website, mobile applications, and Defendants’ secured (i.e., customer login
  required for access) website and mobile applications, used to provide information to the public and
  customers.

         26.     “Payments” means any manner and method of payment made by student loan
  debtors to Defendants in an effort to reduce their respective student loan balances with Defendants,
  including, without limitation, regular payments and extra (over payments) payments made via
  Online Portal, automatic debit (auto-debit), check, cash, electronic check, wire, mail, and the like.




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                                  DOCUMENTS REQUESTED

         1.       All intra-company organizational charts of Defendants, and any parents,
  subsidiaries, affiliates, predecessors or successors.

         2.       All inter-company organizational charts of Defendants, and any parents,
  subsidiaries, affiliates, predecessors or successors.

          3.     All promissory notes and drafts of promissory notes (whether consummated or
  not) of any kind between any of Plaintiffs and any of Defendants, including, without limitation,
  all promissory notes of consolidated loans now held and/or serviced by Defendants.

        4.      Copies of all forms and/or templates of promissory notes entered into by any
  borrower in connection with any and all loans ever held and/or serviced by Defendants.

         5.     All communications and drafts of communications (whether transmitted or not) of
  any kind between any of Defendants and any of Plaintiffs, including, without limitation,
  communications between Defendants’ Customer Service Representatives, underwriting
  department, marketing department, Office of the Customer Advocate, and any of Plaintiffs.

          6.       All records, documents, and electronically stored information that Defendants
  maintain or control, including, but not limited to, any documents originated by Sallie Mae, that
  refer or relate to any of Plaintiffs.

          7.    All audio recordings that refer, relate to or feature any of Plaintiffs and transcripts
  thereof.

         8.     All computer codes, application codes, binary codes, programs, scripts, models,
  methods, algorithms, and/or other system for Defendants’ payment application system in effect
  from 2000 to the present. If different versions were used and/or implemented during this period,
  provide each and every version of computer code, application code, binary code, program, script,
  model, method, algorithm, and/or other system used.

          9.       All computer codes, application codes, binary codes, programs, scripts, models,
  methods, and/or algorithms, for Defendants’ Online portal system in effect from 2000 to the
  present. If different versions were used and/or implemented during this period, provide each and
  every version of computer code, application code, binary code, program, script, model, method,
  algorithm, and/or other system used.

         10.     All computer codes, application codes, binary codes, programs, scripts, models,
  methods, and/or algorithms used and/or implemented by Defendants, from 2000 to the present,
  in connection with the processing of any and all payments received from or on behalf of any
  student loan borrower. If different versions were used and/or implemented during this period,
  provide each and every version of computer code, application code, binary code, program, script,
  model, method, algorithm, and/or other system used.

        11.     All computer codes, application codes, binary codes, programs, scripts, models,
  methods, and/or algorithms used and/or implemented by Defendants, from 2000 to the present,


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  in connection with the allocation to principal and interest (whether past, current, or future) of any
  and all payments received from or on behalf of any student loan borrower. If different versions
  were used and/or implemented during this period, provide each and every version of computer
  code, application code, binary code, program, script, model, method, algorithm, and/or other
  system used.

         12.     All computer codes, application codes, binary codes, programs, scripts, models,
  methods, and/or algorithms used and/or implemented by Defendants, from 2000 to the present,
  in connection with the allocation of any and all payments received from or on behalf of any
  student loan borrower to different types of loans. If different versions were used and/or
  implemented during this period, provide each and every version of computer code, application
  code, binary code, program, script, model, method, algorithm, and/or other system used.

          13.    All computer codes, application codes, binary codes, programs, scripts, models,
  methods, and/or algorithms used and/or implemented by Defendants, from 2000 to the present,
  in connection with the allocation of any and all payments received from or on behalf of any
  student loan borrower to loans with higher (versus lower) interest rates. If different versions were
  used and/or implemented during this period, provide each and every version of computer code,
  application code, binary code, program, script, model, method, algorithm, and/or other system
  used.

         14.     All computer codes, application codes, binary codes, programs, scripts, models,
  methods, and/or algorithms used and/or implemented by Defendants, from 2000 to the present,
  in connection with the allocation of any and all payments received from or on behalf of any
  student loan borrower to loans with variable interest rates. If different versions were used and/or
  implemented during this period, provide each and every version of computer code, application
  code, binary code, program, script, model, method, algorithm, and/or other system used.

         15.     All computer codes, application codes, binary codes, programs, scripts, models,
  methods, and/or algorithms used and/or implemented by Defendants, from 2000 to the present,
  in connection with the allocation of any and all payments received from or on behalf of any
  student loan borrower to loans with fixed interest rates. If different versions were used and/or
  implemented during this period, provide each and every version of computer code, application
  code, binary code, program, script, model, method, algorithm, and/or other system used.

          16.    All computer codes, application codes, binary codes, programs, scripts, models,
  methods, and/or algorithms used and/or implemented by Defendants, from 2000 to the present,
  in connection with the allocation of any and all payments received from or on behalf of any
  student loan borrower to future interest owed. If different versions were used and/or implemented
  during this period, provide each and every version of computer code, application code, binary
  code, program, script, model, method, algorithm, and/or other system used.

         17.    All computer codes, application codes, binary codes, programs, scripts, models,
  methods, and/or algorithms used and/or implemented by Defendants, from 2000 to the present,
  in connection with the assessment of any late fees and/or other penalties on loans serviced by
  Defendants. If different versions were used and/or implemented during this period, provide each
  and every version of computer code, application code, binary code, program, script, model,


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  method, algorithm, and/or other system used.

          18.   All computer codes, application codes, binary codes, programs, scripts, models,
  methods, and/or algorithms used and/or implemented by Defendants, from 2000 to the present,
  in connection with the capitalization of interest on loans serviced by Defendants. If different
  versions were used and/or implemented during this period, provide each and every version of
  computer code, application code, binary code, program, script, model, method, algorithm, and/or
  other system used.

          19.     All documents, including correspondence, regarding Defendants’ compliance
  with the terms of any promissory note entered into by any student loan borrower relating to the
  capitalization of interest.

         20.      All documents, including correspondence, regarding Defendants’ compliance
  with the terms of any promissory note entered into by any student loan borrower relating to the
  issuance of late and/or other fees.

          21.     All documents, including correspondence, regarding Defendants’ compliance
  with the terms of any promissory note entered into by any student loan borrower relating to the
  allocation of payments.

          22.     All documents, including correspondence, regarding any analysis, determination,
  investigation, strategy, policy, directive, and/or decision by Defendants concerning the manner
  by which payments by a student loan borrower are allocated by Defendants towards principal
  versus interest (whether past, present, or future).

          23.     All documents, including correspondence, regarding any analysis, determination,
  investigation, strategy, policy, directive, and/or decision by Defendants concerning the manner
  by which payments by a student loan borrower are allocated by Defendants to different types
  and/or programs of loans.

          24.     All documents, including correspondence, regarding any analysis, determination,
  investigation, strategy, policy, directive, and/or decision by Defendants concerning the manner
  by which payments by a student loan borrower are allocated by Defendants to loans with higher
  versus lower interest rates.

          25.     All documents, including correspondence, regarding any analysis, determination,
  investigation, strategy, policy, directive, and/or decision by Defendants concerning the manner
  by which interest on student loans is capitalized.

         26.      All documents, records, and electronically stored information, from 2000 to the
  present, that refer or relate to complaints/grievances filed by student loan debtors or cosigners
  concerning:

         (a)     Payments being applied incorrectly;
         (b)     Payments being applied incorrectly across multiple loans;
         (c)     Payments being improperly apportioned between loan interest and loan
                 principal;


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         (d)     Improper denial of release of cosigners;
         (e)     Improper application of late fees; and
         (f)     Deceptive billing statements.

           27.    Any and all call center and customer service training manuals and materials, call
  scripts, decision trees, and the like (including e-mail and memoranda) used by Defendants from
  2000 to the present.

          28.    Any and all documents used to determine/calculate payment schedules for ,
  Plaintiffs’ Loans and all other loans serviced by Defendants, including, without limitation,
  amortization schedules.

           29.    Any and all documents related to the process for the creation of monthly billing
  statements (e.g., templates, information chosen to be included or excluded, layout, font size, etc.)
  for all loans held and/or serviced by Defendants.

          30.     All documents related to the process for Defendants’ creation of Defendants’
  website/Online portal layout and individual webpage information (e.g., correspondence, help,
  transaction history, login page, etc. contained therein) created for borrowers of private and federal
  loans held and/or serviced by Defendants.

         31.     Any and all schedules, guides, prompts, decision trees, flow charts, call scripts or
  other materials that are used by Defendants’ customer service/call center/Customer Advocate
  employees that have been used from 2000 to the present to guide the customer service/call
  center/Customer Advocate employees’ responses to student loan debtors complaints/grievances
  or questions.

        32.      All promotional materials related to adding a cosigner to loans offered by
  Defendants.

        33.      All promotional materials related to consolidation loans made or offered by
  Defendants.

         34.     Full and complete payment histories for Plaintiffs.

         35.     Full and complete payment confirmations issued to Plaintiffs.

         36.    Full and complete transaction histories for Plaintiffs, including, without limitation,
  disbursements, capitalized interest, fees, consolidated loan payoffs, and payments.

         37.      All documents regarding, related to or concerning, the consolidated loans used to
  support the initial principal of Plaintiffs’ current consolidated loans held/serviced by Defendants.

         38.     All correspondence, e-mail, memoranda, (handwritten or otherwise) of
  conversations or other communications regarding Plaintiffs.

        39.     All agreements, including, without limitation, any separation and distribution
  agreement, and drafts thereof, related to the consummation of the 2014 corporate spinoff between


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  Sallie Mae and any of Defendants.

           40.    All documents that refer or relate to Defendants’ documents and data retention
  policies and protocols, including, but not limited to, policies for storing and/or discarding
  electronic files and hardcopy documents relating to loan servicing, customer service interactions
  and communications, marketing documents, internal memoranda, emails, and documents, and
  litigation holds.

          41.    All documents that refer or relate to any of Defendants’ private and federal loan
  servicing processes, including, but not limited to, all SOC-1 Reports (also known as Service
  Organization Control or System and Organization Control) (or substantially similar report in the
  event that the Statement on Standards for Attestation Engagements No. 16 (SSAE 16) auditing
  standard, SOC- 1 Type 2 report, was not the industry standard for the requested time period) for
  the years 2000 through the present, as referenced in Exhibit 10.4 Amended and Restated Loan
  Servicing and Administration Agreement between Sallie Mae Bank and Navient Solutions, Inc.
  to Form 8-K of SLM Corporation dated May 2, 2014 as filed with the United States Securities and
  Exchange Commission available at:
  https://www.sec.gov/Archives/edgar/data/1032033/000119312514180442/d719399dex104.htm

         42.     All documents that refer or relate to Defendants’ investigation of inquiries made
  by any of student loan borrower regarding or concerning the allocation of regular payments to
  principal versus interest.

         43.     All documents that refer or relate to Defendants’ investigation of inquiries made
  by any of student loan borrower regarding or concerning the allocation of advance payments to
  principal versus interest.

          44.     All documents that refer or relate to Defendants’ investigation of inquiries made
  by any of student loan borrower regarding or concerning the allocation of regular payments to
  specific types of loans.

          45.     All documents that refer or relate to t Defendants’ investigation of inquiries made
  by any of student loan borrower regarding or concerning the allocation of advance payments to
  specific types of loans.

         46.     All documents that refer or relate to Defendants’ investigation of inquiries made
  by any of student loan borrower regarding or concerning the allocation of regular payments to
  loans of higher versus lower interest rates.

         47.     All documents that refer or relate to Defendants’ investigation of inquiries made
  by any student loan borrower regarding or concerning the allocation of advance payments to loans
  of higher versus lower interest rates.

         48.     All internal audit reports conducted by Defendants related to loan servicing
  processes for the years 2000 through the present.

         49.     All audit reports conducted by a third-party related to Defendants’ loan servicing
  processes for the years 2000 through the present.


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         50.     All documents that refer or relate to Defendants’ loan servicing processes for the
  years 2000 through the present.

          51.     All documents, including communications, that refer or relate to Defendants’
  internal audit reports related to loan servicing processes for the years 2000 through the present.

         52.     All documents that refer or relate to Defendants’ enterprise-wide risk assessments,
  including, but not limited to, all related reports, memoranda, and communications for the years
  2000 through the present.

          53.    All documents that refer or relate to Defendants’ internal, preventative, directive,
  corrective controls, or any and all similar controls put into effect by Defendants, for the years
  2000 through the present.

        54.    All documents that refer or relate to Defendants’ processes and/or policies for
  implementing automatic debit and/or automatic payment of monthly loan payments.

          55.     All documents that refer or relate to Defendants’ internal policies related to the
  creation of borrower incentives for private and federal loans for interest rate deductions and/or
  credits, and the implementation and application thereof.

        56.     All documents that refer or relate to the creation and implementation of
  Defendants’ internal policies and guidelines for the years 2000 through the present.

         57.     All of Defendants’ Board committee and sub-committee meeting minutes for the
  years 2000 through the present relating to policies and procedures concerning:

         (a)     loan servicing;
         (b)     federal and state law and regulatory compliance;
         (c)     disclosures;
         (d)     underwriting;
         (e)     procuring student loan borrowers;
         (f)     procuring cosigners;
         (g)     cosigner release;
         (h)     marketing and promotional materials;
         (i)     regulatory compliance practice;
         (j)     customer service representative training; and
         (k)     establishment of Defendants’ Office of the Customer Advocate.

         58.    All documents that refer or relate to Defendants’ Board committee and sub-
  committee meeting minutes for the years 2000 through the present relating to policies and
  procedures concerning:

         (a)     loan servicing;
         (b)     federal and state law and regulatory compliance;
         (c)     disclosures;


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         (d)     underwriting;
         (e)     procuring student loan borrowers;
         (f)     procuring cosigners;
         (g)     cosigner release;
         (h)     marketing and promotional materials;
         (i)     regulatory compliance practice;
         (j)     customer service representative training; and
         (k)     establishment of Defendants’ Office of the Customer Advocate.

          59.     All insurance policies, including, but not limited it to, fidelity and/or surety
  policies, that refer or relate to acts concerning Defendants’ lending and loan servicing and
  compliance practices for the years 2000 through the present.

          60.    All communications that refer or relate to Defendants’ insurance policies’ coverage
  of acts concerning Defendants’ lending and loan servicing practices for the years 2000 through
  the present.

          61.      All contracts and agreements between Defendants and any third-party vendors
  relating to the implementation and/or facilitation of Defendants’ loan servicing for the years 2000
  through the present.

          62.      All communications that refer or relate to Defendants and any third-party vendors
  relating to the implementation and/or facilitation of Defendants’ loan servicing for the years 2000
  through the present.

         63.    All loan servicing contracts and agreements between Defendants and the United
  States Department of Education for the years 2000 through the present.

         64.   All documents that refer or relate to loan servicing contracts and agreements
  between Defendants and the United States Department of Education for the years 2000 through the
  present.

          65.    All documents that refer or relate to Defendants’ response to the audit conducted
  by the United States Department of Education, Office of the Inspector General for Federal Student
  Aid and report titled: Federal Student Aid: Additional Actions Needed to Mitigate the Risk of
  Servicer Noncompliance with Requirements for Servicing Federally Held Student Loans , dated
  February 12, 2019,            and                   available          at:
  https://www2.ed.gov/about/offices/list/oig/auditreports/fy2019/a05q0008.pdf.

         66.     All documents that refer or relate to Defendants’ compliance with the audit
  conducted by Federal Student Aid for the FSA Business Operations and report titled: Navient
  Use of Forbearance Site Review, dated May 18, 2017.

         67.    All documents that refer or relate to Defendants’ response to the August 13, 2019
  U.S. Congressional letter from Elijah E. Cummings (Chairman of the Committee on Oversight and
  Reform), Robert C. Scott (Chairman of the Committee on Education and Labor), and Maxine



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  Waters (Chairwoman of the Committee on Financial Services) to John Remondi, President and
  Chief Executive    Officer of   Navient       Solutions, LLC.

          68.     All documents, including, but not limited to, Defendants’ Board committee
  minutes and sub-committee minutes, memoranda, and emails, that refer or relate to the creation
  and implementation of Defendants’ 2018 Code of Business Conduct located at:
  https://about.navient
  .com/Images/Navient-CodeOfBusinessConduct_tcm7-3205.pdf.

         69.      All documents, including, but not limited to, Defendants’ Board(s) committee and
  sub-committee minutes, memoranda, and emails, that refer or relate to the creation and
  implementation of any previous Code of Business Conduct, or similar internal policy and conduct
  guidelines, for the years 2000 through the present.

         70.     All communications that refer or relate to the creation and implementation of any
  previous Code of Business Conduct, or similar internal policy and conduct guidelines, for the
  years 2000 through the present.

          71.     All documents that refer or relate to the training of customer service
  representatives, including, but not limited to, borrower inquiries through telephone and/or the
  Online Portal, including those related to intake, processes, and discussions regarding allocation
  of regular and advance/extra payments to principal versus interest (whether past, current, or
  future), the allocation of regular and advance/extra payments to different types of loans, the
  allocation of regular and advance/extra payments to loans with higher versus lower interest rates,
  capitalization of interest, and late fees.

         72.     All documents that refer or relate to Defendants’ Upromise program, including,
  but not limited to, any terms, conditions, disclosures, marketing materials, credit applications
  surrounding Defendants’ Upromise program for the years 2000 through the present.

          73.     All documents and communications that refer or relate to Defendants’
  sale/divestiture of the Upromise program in or around 2020, including, but not limited to, any
  decision processes to sell, terms, conditions, ongoing liability exposure, and/or indemnifications
  to the acquiring entity surrounding Defendants’ Upromise program for the years 2000 through the
  present.

          74.     All documents and communications that refer or relate to Defendants’ internal
  policies and procedures concerning any requisite information necessary for a borrower to provide
  to Defendants in order to access that borrower’s records through Defendants’ website, Online
  Portal, telephone, chat, and/or all other available options (e.g., log-in information, system
  requirements, and biometric authentication requirements to gain access to/through the smartphone
  application developed and copyrighted by Defendants titled “Navient” for iOS (Apple based
  systems), Android OS, and/or Windows Mobile OS), including, without limitation, Defendants’
  decision(s) to implement or not to implement the same, e.g., Face ID, Touch ID, facial recognition,
  fingerprint recognition, etc., for the years 2000 through the present.




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          75.   All documents that refer or relate to data entry of transactions that populate the
  consumer-facing Transaction History on Defendants’ Online Portal, including, but not limited to,
  daily, monthly, annual entries, and corrective entries, and changes to entries after entries have
  been made.

         76.     All documents that refer or relate to Defendants’ use of any notice or notice
  equivalents filed or transmitted by Defendants to demonstrate a borrower’s indebtedness,
  including without limitation, notices to credit reporting bureaus/agencies, e.g., TransUnion,
  Experian, Equifax, and/or financing statements, or other notice equivalent, filed by Defendants
  with any state or federal entity to demonstrate the amount of a borrower’s indebtedness.

         77.    All documents that refer or relate to Defendants’ internal policy decision(s) to alter
  a previously-entered transaction entry in the consumer-facing Account History section on
  Defendants’ Online Portal.

         78.    All documents that refer or relate to Defendants’ internal policy decision(s) to
  begin to add the transaction entry in Account History on Defendants’ Online Portal stating:
  “Disbursement,” “Late Fee,” “Capitalization,” “Adjustment,” “Repayment Fee,” “Payment,”
  “Payment – Upromise,” “School Refund,” “Resale,” and/or “Loan Sale” on previously-entered
  Account Histories in connection to any loans serviced by Defendants.

         79.     All documents that refer or relate to Defendants’ addition of the transaction entries
  in the Account History on Defendants’ Online Portal stating: “Loan Sale” and “Resale” in
  connection to any loans serviced by Defendants.

         80.     All documents that refer or relate to the internal policy decision(s) to change a due
  date on any particular loan.

         81.    All documents that refer or relate to the due date change associated with any loans
  serviced by Defendants.

        82.     All documents that refer or relate to the internal policy decision(s) to change the
  “Unpaid Principal” amount on monthly billing statements for any loans serviced by Defendants.

         83.    All documents that refer or relate to the creation and implementation of, and
  information within, www.navient.com/allocation.

          84.     All documents that refer or relate to the internal policy decision(s) to add the
  transaction entry in Account History on Defendants’ Online Portal stating: “When your loan was
  transferred to Navient, we received the following historical transactions. However, we do not
  have the full details of these transactions from your prior servicer.”

        85.    All documents that refer or relate to any policies Defendants have implemented,
  amended, and/or changed as a result of any litigation.

          86.     All documents that refer or relate to any policies Defendants have implemented,
  amended, and/or changed as a result of any federal action, including without limitation, compliance
  audits, regulatory servicing reviews, and the like.


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          87.     All documents that refer or relate to any policies Defendants have implemented,
  amended, and/or changed as a result of any state action, including without limitation, compliance
  audits, servicing reviews, and the like.

          88.     All documents reflecting the provision, issuance, or communication of any
  instruction, requirement, command, directive, advice, guidance, suggestion, recommendation, or
  critique from Defendants (including any business plans, strategic plans, policies, or procedures
  created or issued by Defendants) relating to the servicing of student loans.

          89.    All documents containing, discussing, or reflecting any requirements, instructions,
  policies, procedures, guidance, or training provided to employees, agents, or subcontractors of
  Defendants relating to communications with borrowers.

         90.    All documents discussing, describing, or recording any infraction, error, non-
  compliance, or violation by any employee, agent, or subcontractor of Defendants relating to
  communications with borrowers about the servicing on any loans.

          91.    All documents relating to the number, percentage, or rate of borrowers with federal
  loans serviced by Defendants from 2000 to the present.

          92.    All documents relating to the number, percentage, or rate of borrowers with private
  loans serviced by Defendants from 2000 to the present.

          93.     All documents reflecting any discussion, evaluation, or analysis of errors or
  problems in the processing, application, or allocation of payments for student loans that were
  happening on a repeated, recurring, or non-isolated basis or that had been the subject of
  complaints/grievances from more than one consumer, including any discussion, evaluation, or
  analysis of the adequacy, inadequacy, effectiveness, ineffectiveness, appropriateness, or
  inappropriateness of any policies, procedures, practices of Defendants to prevent or reduce such
  errors or problems.

          94.    All documents containing, discussing, or reflecting any requirements, instructions,
  policies, procedures, guidance, or training provided to employees, agents, or subcontractors of
  Defendants relating to any requirement that a borrower demonstrate a certain payment history
  (such as making a certain number of consecutive, on-time payments) to become eligible for
  cosigner release for student loans.

           95.   All documents used to monitor, track, or record criteria or factors relating to
  eligibility for monetary incentive awards or bonuses, including spreadsheets and charts
  documenting average call handling time, for employees or agents of Defendants whose primary
  responsibility at any time during the applicable time period was answering phone calls from
  student loan borrowers.

          96.    All documents relating to any potential policies, procedures, practices, systems,
  tools, or methodologies to identify recurring payment processing errors and prevent or minimize
  their recurrence (whether for a single borrower or multiple borrowers) that Defendants discussed



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  or considered but did not adopt or implement, such as systems or tools to systematically search
  and/or aggregate non-escalated inquiries about payment processing errors.

         97.     All documents relating to the entity relationship diagram, relational database
  schema, or similar diagram showing all data collected, archived, maintained, or used by
  Defendants relating to the servicing of student loans, including but not limited to documents
  showing all entities, attributes, and interrelationships for relevant flat-file and relational databases,
  and documents showing definitions of all elements.

          98.     All documents relating to any evaluation, auditing, monitoring, oversight, due
  diligence, quality assurance, or compliance review (including those conducted by or on behalf of
  an investor or trustee of a loan securitization trust) relating to communications with or enrollment
  of borrowers in forbearance or any type of income-driven repayment plan, including any audit or
  compliance reports, any risk management analyses, all communications relating to any such audit
  or compliance reports or risk management analyses, and any action plans in response to any audit
  or compliance reports or risk management analyses.

         99.     All documents reflecting any discussion, evaluation, or analysis of errors or
  problems in the processing, application, or allocation of payments for student loans that were
  happening on a repeated, recurring, or non-isolated basis or that had been the subject of complaints
  from more than one consumer, including any discussion, evaluation, or analysis of the adequacy,
  inadequacy, effectiveness, ineffectiveness, appropriateness, or inappropriateness of any policies,
  procedures, practices of Defendants to prevent or reduce such errors or problems.

          100. All documents that refer or relate to Defendants’ process and system by which
  Defendants intake calls to its customer service call center, including, without limitation, creation
  of any automated prompts, decision trees, flow charts, and call routing system.

          101. All documents that refer or relate to the manner by which Defendants’ customer
  service representatives (including, without limitation, call center operators, Online Portal
  operators, and Customer Advocate representatives) are compensated, including, without
  limitation, performance goals, commissions, bonuses and/or similar incentive compensation
  programs.

         102. All documents that refer or relate to the manner by which Defendants’ reviewers of
  loan applications (including, without limitation, underwriters and loan officers) are compensated
  including, without limitation performance goals, commissions, bonuses and/or similar incentive
  compensation programs.

          103. All documents that refer or relate to the manner by which Defendants’ reviewers of
  applications to release cosigners are compensated including, without limitation, performance
  goals, commissions, bonuses and/or similar incentive compensation programs.

          104. All documents that refer or relate to the manner by which Defendants’ executives
  whose roles relate to loan acquisitions/disbursements and loan programs (including, without
  limitation, heads of departments referenced above) are compensated including, without limitation,
  performance goals, commissions, bonuses and/or similar incentive compensation programs.


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          105. All documents reflecting any discussion, evaluation, or analysis of the adequacy,
  inadequacy, effectiveness, ineffectiveness, appropriateness, or inappropriateness of any
  requirements, instructions, policies, procedures, guidance, or training relating to Defendants’
  student loan servicing practices, including, without limitation: (a) all communications or analyses
  concerning any deficiencies or problems in such requirements, instructions, policies, procedures,
  guidance, or training; (b) any analysis of the impact on borrowers of such requirements,
  instructions, policies, procedures, guidance, or training; and (c) all communications or analyses
  regarding potential improvements – whether implemented or not – in such requirements,
  instructions, policies, procedures, guidance, or training. Such information should include, but not
  be limited to, the following subject matters concerning Defendants’:

         (a)     loan servicing;
         (b)     federal and state law and regulatory compliance;
         (c)     disclosures;
         (d)     underwriting;
         (e)     procuring student loan borrowers;
         (f)     procuring cosigners;
         (g)     cosigner release;
         (h)     marketing and promotional materials;
         (i)     regulatory compliance practice;
         (j)     customer service representative training; and
         (k)     establishment of Defendants’ Office of the Customer Advocate.

          106. All documents relating to the termination of Defendants’ contract with the United
  States Department of Education relating to Defendants’ servicing of federal loans.

          107. All documents regarding, related to, concerning, or supporting Navient Corp.’s
  First Affirmative Defense in its Answer.

        108. All documents regarding, related to, concerning, or supporting Navient Corp.’s
  Second Affirmative Defense in its Answer.

         109. All documents regarding, related to, concerning, or supporting Navient Corp.’s
  Third Affirmative Defense in its Answer.

          110. All documents regarding, related to, concerning, or supporting Navient Solutions’
  First Affirmative Defense in its Answer.

        111. All documents regarding, related to, concerning, or supporting Navient Solutions’
  Second Affirmative Defense in its Answer.

         112. All documents regarding, related to, concerning, or supporting Navient Solutions’
  Third Affirmative Defense in its Answer.

         113. All documents regarding, related to, concerning, or supporting Navient Solutions’
  Fourth Affirmative Defense in its Answer.


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         114. All documents regarding, related to, concerning, or supporting Navient Solutions’
  Fifth Affirmative Defense in its Answer.

         115. All documents regarding, related to, concerning, or supporting Navient Solutions’
  Sixth Affirmative Defense in its Answer.

         116. All documents regarding, related to, concerning, or supporting Navient Solutions’
  Seventh Affirmative Defense in its Answer.

         117. All documents regarding, related to, concerning, or supporting Navient Solutions’
  Eighth Affirmative Defense in its Answer.

          118. Statements of parties and/or non-parties to this Action that relate in any way to the
  subject matter of this Action.

         119. Declarations against interest of parties and/or non-parties to this Action that relate
  in any way to the subject matter of this Action.

         120. All documents, recordings or things to be relied upon, or intended to be relied upon,
  by Defendants at trial.

           121.    Copies of the following for each proposed expert witnesses Defendants intend to
  call at trial:

          a.       the qualifications of each expert;

          b.       a summary of the grounds for each opinion;

          c.       the substance of all oral reports; and

          d.       true copies of all written reports provided to you by any such expert.

         122. Copies of all documents and information relied upon by the expert(s) identified in
  response to Request 121 above to support their opinions.

           123. Copies of the following for each expert retained by Defendants in anticipation of
  litigation or preparation for trial who is not expected to be called as a witness at trial:

          a.       the qualifications of each expert;

          b.       a summary of the grounds for each opinion;

          c.       the substance of all oral reports; and

          d.       true copies of all written reports provided to you by any such expert.

          124.    Copies of all documents and information relied upon by the expert(s) identified
  in response to Request 123 above to support their opinions.



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         125.    All documents relating to the underlying subject matter of this Action that have
  not otherwise been provided in response to the above requests.




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